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                                  UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                      SAN FRANCISCO DIVISION


  UNITED STATES OF AMERICA                       )        No. 23-CR-30-SI
                                                 )
            Plaintiff,                           )        STIPULATION AND [PROPOSED]
                                                 )        ATTORNEYS-EYES-ONLY PROTECTIVE
      v.                                         )        ORDER
                                                 )
  OLVIN ISAAC GUTIERREZ-NUNEZ,                   )
  ET AL,                                         )
                                                 )
            Defendants.                          )


       The defendants are both charged with offenses related to trafficking fentanyl, in violation of 21

U.S.C. § 841(a). On July 25, 2023, the Court issued a protective order regarding the production of

“Protected Material.” (Dkt. 106.) However, that order did not contemplate the disclosure of materials

containing witness identifying information to defense counsel for Attorneys’ Eyes Only. To balance the

needs of the defendants in obtaining such materials to prepare their defenses and the need to protect

witnesses from potential harm, the parties have agreed that the defense counsel’s use and possession of

materials designated “ATTORNEYS’ EYES ONLY” will be subject to the following restrictions:
       1.        The ATTORNEYS’ EYES ONLY materials shall be treated as PROTECTED materials

subject to all of the restrictions in the July 25, 2023, Protective Order in this case. (Dkt. 106.) To the


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extent the prior Protective Order and the ATTORNEYS’ EYES ONLY Protective Order conflict, the

ATTORNEYS’ EYES ONLY Protective Order shall govern the restrictions on ATTORNEYS’ EYES

ONLY materials.

        2.      Only noticed counsel of record for each defendant may examine the ATTORNEYS’

EYES ONLY materials for the sole purpose of preparing the defense in this case and for no other

purpose.

        3.      The defendants may NOT have access to the ATTORNEYS’ EYES ONLY materials,

and the content/substance of those materials may not be discussed with the defendant or anyone else not

approved to review the materials.

        4.      If defense counsel determines that additional persons are needed to review the

ATTORNEYS’ EYES ONLY materials, he or she must obtain a further order of the Court before

allowing any other individual to review the materials. Such a request to the Court will only occur after

conferring with the government. In the event the parties agree to the additional person or persons, it shall

be documented in writing with no need for further involvement of the Court. If the parties cannot agree,

defense counsel will make its motion to the Court on sufficient notice to the government so that it may

assert its objection.

        5.      A copy of this ATTORNEYS’ EYES ONLY Protective Order shall be maintained with

the ATTORNEYS’ EYES ONLY materials at all times.

        6.      No other person shall be allowed to examine the ATTORNEYS-EYES-ONLY

MATERIALS. The contents/substance of the ATTORNEYS-EYES-ONLY MATERIALS shall not be

shared with anyone without further order of the Court. Examination of the ATTORNEYS-EYES-

ONLY MATERIALS shall be done in a secure environment which will not expose the materials to other

individuals not listed above.

        7.      If defense counsel determines that additional persons are needed to review the

ATTORNEYS-EYES-ONLY MATERIALS, he or she must obtain a further order of the Court before

allowing any other individual to review the materials, subject to the following qualification. Such a
request to the Court will only occur after conferring with the government. In the event the parties agree

to the additional person or persons, it shall be documented in writing with no need for further


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involvement of the Court. If the parties cannot agree, defense counsel will make its motion to the Court

on sufficient notice to the government so that it may assert its objection. To the extent the parties agree

that additional persons may review the ATTORNEYS-EYES-ONLY MATERIALS, those individuals

other than defense counsel who receive access to the ATTORNEYS-EYES-ONLY MATERIALS, prior

to receiving access to the materials, shall sign a copy of this ATTORNEYS-EYES-ONLY Protective

Order acknowledging that:

               a. They have reviewed this Order;

               b. They understand its contents;

               c. They agree that they will only review and/or access the ATTORNEYS-EYES-ONLY

                   MATERIALS for the purpose of preparing the defense; and

               d. They understand that failure to abide by this Order may result in sanctions by this

                   Court.

       Any such signed copies shall be maintained by counsel for the parties and shall be made

available upon request under seal to the Court.

       This stipulation is without prejudice to either party applying to the Court to modify the terms of

any protective order. This Court shall retain jurisdiction to modify this Order upon motion of either

party even after the conclusion of district court proceedings in this case.

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       The undersigned Assistant United States Attorney certifies that she has obtained approval from

counsel for each defendant to file this stipulation and proposed order.



       IT IS SO STIPULATED.


                                                     ISMAIL J. RAMSEY
                                                     United States Attorney

Dated: August 3, 2023                                /s/_________________________
                                                     HILLARY IRVIN
                                                     SOPHIA COOPER
                                                     Assistant United States Attorneys




Dated: August 3, 2023                                /s/________________________
                                                     ELIZABETH FALK
                                                     Assistant Federal Public Defender
                                                     Counsel for Marvin Rodriguez Flores a/k/a Carlos
                                                     Cruz Medina




Dated: August 3, 2023                                /s/_________________________
                                                     JAMES VAUGHNS
                                                     Counsel for Olvin Isaac Gutierrez Nunez



       IT IS SO ORDERED.




Dated: August 8, 2023                                _______________________________
                                                     SUSAN ILLSTON
                                                     United States District Judge




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